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                           UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW HAMPSHIRE


       Scottsdale Capital Advisors Corp. et al.,            Docket No. 1:16-cv-00545

                                     Plaintiffs
       v.

       The Deal, LLC, et al.,

                                     Defendants




                            PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Scottsdale Capital Advisors Corp. and John Hurry, Plaintiffs

herein, by and through their attorneys, hereby appeal to the United States Court of Appeals for

the First Circuit from the Order of the Court (Doc. 31) entered in this action on September 8,

2017, granting Defendants’ motion to dismiss for lack of personal jurisdiction.




                                     Respectfully submitted,

                                     SCOTTSDALE CAPITAL ADVISORS CORP.
                                     AND JOHN HURRY
                                     By their attorneys

                                     DEVINE, MILLIMET & BRANCH, P.A.


Dated: September 26, 2017            By:          /s/ Christopher D. Hawkins
                                       Christopher D. Hawkins, Esq. (NH Bar No. 10005)
                                       111 Amherst Street
                                       Manchester, NH 03101
                                       603-669-1000


       {00084372;1}                               1
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                               HARDER, MIRELL & ABRAMS, LLP

Dated: September 26, 2017      By:           /s/ Charles Harder
                                 Charles J. Harder (admitted pro hac vice)
                                 132 South Rodeo Drive, 4th Floor
                                 Beverly Hills, CA 90212
                                 424-203-1600




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 6th day of July, 2017, I served a copy of the foregoing

pleading upon Defendants’ counsel in the manner specified herein:

       Electronically served through ECF:

       Elizabeth A. McNamara, Esq. – lizmcnamara@dwt.com
       John M. Browning, Esq. - jackbrowning@dwt.com
       Steven M. Gordon, Esq. – sgordon@shaheengordon.com




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